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 9                           UNITED STATES DISTRICT COURT
10

11                         CENTRAL DISTRICT OF CALIFORNIA
12

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15
       MARYNA PYLYPCHUK,                      Case No. 2:15-CV-03936-JFW (GJSx)
16

17
                    Plaintiff,
18                                             STIPULATION OF DISMISSAL
       vs.
19

20
       EQUIFAX INFORMATION
       SERVICES, LLC; DOES 1 THROUGH
21     10, INCLUSIVE,
22
                    Defendants.
23

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                                  STIPULATION OF DISMISSAL
     Case 2:15-cv-03936-JFW-GJS Document 17 Filed 08/25/15 Page 2 of 2 Page ID #:104



 1        IT IS HEREBY STIPULATED by and between the parties to this action
 2
      through their designated counsel that the above captioned action be and hereby is
 3

 4    dismissed with prejudice pursuant to FRCP 41 (a)(1).
 5

 6

 7    Dated: August 19, 2015       LAW OFFICES OF HOWARD D. SILVER
 8

 9

10                               By: /s/ Howard D. Silver__
                                     HOWARD D. SILVER
11
                                     Attorneys for Maryna Pylypchuk
12

13
      Dated: August 19, 2015       NOKES & QUINN APC
14

15

16
                                    By: /s/ Thomas P. Quinn, Jr.
17
                                       THOMAS P. QUINN, JR.
18                                     Attorneys for Equifax Information Services, LLC
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                                   STIPULATION OF DISMISSAL
